240 F.3d 1316 (11th Cir. 2001)
    Robert Eugene LAMB, individually, James Morris Lofton, individually, Robert C. Lee, individually, William Gordon Bailey, individually, Plaintiffs-Appellants,v.TURBINE DESIGNS, INC., a Florida corporation, Defendant-Appellee.
    No. 99-10565.
    United States Court of Appeals,Eleventh Circuit.
    Feb. 2001.Feb. 15, 2001.
    
      Appeal from the United States District Court for the Northern District of  Georgia. (No. 99-00024-1-CV-WBH), Willis B. Hunt, Jr., Judge.
      Before ANDERSON, Chief Judge, and WILSON and HILL, Circuit Judges.
      HILL, Circuit Judge:
    
    
      1
      Robert Eugene Lamb, James Morris Lofton, Robert C. Lee, and William Gordon  Bailey, non-residents of Georgia, brought this action in the United States  District Court for the Northern District of Georgia claiming that Turbine  Design, Inc., also a non-resident of Georgia, violated the Florida Uniform Trade  Secrets Act and the Georgia Trade Secrets Act, as well as a variety of other  state statutory and common law duties, by misappropriating proprietary flight  and engineering data and then improperly disclosing this information in an  application filed with the Federal Aviation Administration in Atlanta, Georgia.  The district court held that it had no jurisdiction over Turbine Design, Inc.  and dismissed the case. Plaintiffs brought this appeal.
    
    
      2
      After review, we concluded that this diversity case presented the following  question of law: in Georgia, is a nonresident subject to personal jurisdiction  under the Georgia long-arm statute when he improperly discloses another  nonresident's trade secret to a federal agency at its Georgia office? As there  was no controlling Georgia authority, we certified this issue to the Georgia  Supreme Court.
    
    
      3
      On January 9, 2001, the Georgia Supreme Court answered this question in the  negative. In a well-reasoned opinion, the court adopted the "government  contacts" exception to the exercise of personal jurisdiction under Georgia's  long-arm statute and held that where a nonresident's sole contact with Georgia  is with a governmental entity located within Georgia, that contact is  insufficient to justify the exercise of personal jurisdiction by a Georgia court  over that nonresident. Since the sole contact of the defendants in this case  with Georgia was the petitioning of the Federal Aviation Administration in  Atlanta, we conclude that the Georgia district court correctly held that it did  not have personal jurisdiction over these defendants.
    
    
      4
      Accordingly, the judgment of the district court is AFFIRMED.
    
    